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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                     CHARLESTON DIVISION


IN RE: C. R. BARD, INC.,
       PELVIC REPAIR SYSTEM
       PRODUCTS LIABILITY LITIGATION
                                                                                     MDL 2187


THIS DOCUMENT RELATES TO THE
CASE(S) IN THE EXHIBIT A ATTACHED HERETO


                                  INACTIVE DOCKET ORDER


        The Court has been advised by counsel that in the cases listed on the attached Exhibit, the

plaintiffs and Tissue Science Laboratories Limited, C. R. Bard, Inc., and Sofradim Production

(collectively referred to as “Defendants”) have agreed to a settlement model with regard to

Defendants. The Court, therefore, finds it unnecessary to conduct further proceedings or to keep

these cases on the active docket. Accordingly, the Court ORDERS as follows:

        1.       All discovery deadlines are continued until further order of the Court.

        2.       That the Clerk retire each of the cases listed on the attached Exhibit A from the

active docket.

        3.       Plaintiffs and Defendants may submit an agreed order of dismissal with prejudice

on or before February 17, 2017; if settlements are not finalized and dismissal orders are not

submitted by February 17, 2017, then the Court will have a hearing to determine the appropriate

action pertaining to any remaining cases on the inactive docket.

        Counsel for plaintiffs and defendants are directed to provide quarterly reports as to their

progress in dismissing cases on the inactive docket. The Court is aware that counsel have agreed



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to a settlement model for a group of cases and claims, including those on Exhibit A. The Court

will reinstate any case on the attached Exhibit A to the active docket if one of the parties, on

motion, shows good cause for such reinstatement. Good cause includes, but is not limited to, a

plaintiff’s refusal or inability to consummate settlement. Such motion must be accompanied by

an affidavit from the plaintiff explaining such refusal or inability.

        The Court DIRECTS the Clerk to file a copy of this order in MDL No. 2187 and in the

individual cases listed on the attached Exhibit A. The Clerk is further DIRECTED to send a

copy of this Order to counsel of record and any unrepresented party. The Clerk is further

DIRECTED to link this Order to the Proposed Inactive Docket Order filed at ECF No. 2563.

                                                       ____________________________________
                                                       JOSEPH R. GOODWIN
                                                       UNITED STATES DISTRICT JUDGE




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                     EXHIBIT A – THE POTTS LAW FIRM, LLP

          CIVIL ACTION NUMBER
    (listed numerically in ascending order)                Case Name



                 2:13-cv-33315                             Hurt, Pamela

                 2:13-cv-33318                Lozano, Delia Carolina and David Lopez

                 2:13-cv-33320                  Pendergraft, Diane Kay and Walter

                 2:14-cv-00270                          Church, Kimberly

                 2:14-cv-00275                       Salazar, Phyllis and Fred

                 2:14-cv-00276                     Satawake, Catherine and John

                 2:14-cv-00277                 Tucker, April and David Wayne Lance

                 2:14-cv-01339                          Richardson, Nicole

                 2:14-cv-01340                       Laughlin, Marquentia, Sr.

                 2:14-cv-01342                    Zaenker, Liberty and Wolfgang

                 2:14-cv-01347                    Ricketts, Linda Hurley and John

                 2:14-cv-01348                De Portillo, Jeanette and Danny Canton

                 2:14-cv-01349                            Wright, Sandra

                 2:14-cv-04077                           Deifer, Margaret

                 2:14-cv-04082                      Diggs, Lucinda and Jimmie

                 2:14-cv-04137                          Doughty, Elizabeth

                 2:14-cv-04149                         Evett, Nina and Billy

                 2:14-cv-04183                      Gholson, Laura and Russell




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                 2:14-cv-04214                           Hassell, Janice

                 2:14-cv-04234                    Hiles, Cathy and John Edward

                 2:14-cv-04253                      Howe, Wilma and Donald

                 2:14-cv-04293                            Keck, Linda

                 2:14-cv-04313                    Knighten, Dayleen and Charles

                 2:14-cv-04317                    Kraus, Denise and Edward, Jr.

                 2:14-cv-04351                 Mancuso, Jacquelyn and Anthony, Sr.

                 2:14-cv-04353                          Mann, Alexandra

                 2:14-cv-04358                  Matthews, Rebecca and Major Wm.

                  2:14-cv04369                            Merer, Nina

                 2:14-cv-04372                     Mohler, Mary and Wendell

                 2:14-cv-04381                     Owens, Bertha and Michael

                 2:14-cv-04383                          Padilla, Christina

                 2:14-cv-04388                      Pate, Sarah and Eddie, Sr.

                 2:14-cv-04390                      Petersen-Donofrio, Sandra

                 2:14-cv-04392                    Pollard, Carol and Ned Edwin

                 2:14-cv-04394                            Priar, Laurie

                 2:14-cv-04396                          Primeaux, Kelly

                 2:14-cv-04398                  Putt, Sheila and Brian Mark Webb

                 2:14-cv-04400                           Rayfield, Penny

                 2:14-cv-04403                    Simmons-Miller, Brenda Jean

                 2:14-cv-04404                      Smith, Leslie and Max, II



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                 2:14-cv-04408                            Sofley, Terry

                 2:14-cv-04411                     Stacy, Sadie and Randall Cox

                 2:14-cv-04414                          Summers, Suanne

                 2:14-cv-04419                            Todd, Wanetta

                 2:14-cv-04420                       Trent, Barbara and James

                  2:14cv-05122                     Jackson, Stephanie and Leroy

                 2:14-cv-05923                           Vannoy, Nikeeia

                 2:14-cv-05925                 Walker, Betty Elizabeth and Clarence

                 2:14-cv-05943                      Woods, Norma and Larry

                 2:14-cv-05953                              Yex, Lynn

                 2:14-cv-06540                 Peebles, Demetria and Paul Demetrius

                 2:14-cv-08213                   Holloway, Theresa and John, Sr.

                 2:14-cv-08226                        Lewis, Kathy and Gary

                 2:14-cv-08230                             Reddell, Sue

                 2:14-cv-08625                            Alger, Teresa

                 2:14-cv-08627                            Ashby, LaVon

                 2:14-cv-08630                          Balderas, Christine

                 2:14-cv-08632                           Beard, Marilyn

                 2:14-cv-08633                     Berry, Linda and Donald, Sr.

                 2:14-cv-08634                     Blackmon, Roberta and Tom

                 2:14-cv-08636                     Blessing, Kathleen and James

                 2:14-cv-08639                        Bolon, Benita and John



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                 2:14-cv-08643                      Brock, Elizabeth and John

                 2:14-cv-08646                  Campbell, Evelyn and Everett Lee

                 2:14-cv-08647                     Carrasco, Dianne and Martin

                 2:14-cv-08653                   Saenz, Josephine and Juan Carlos

                 2:14-cv-09011                          Bowman, Shonnie

                 2:14-cv-09041                            Carter, Jeanne

                 2:14-cv-09044                   Davidson, Sharon Kay and Ralph

                 2:14-cv-09062                     Rinehart, Rebecca Hoggard

                 2:14-cv-09064                     Telford, Joyce and Andrew

                 2:14-cv-09246                          Collier, Jeannette

                 2:14-cv-09249                      Creditt, Pamela and Kevin

                 2:14-cv-09254                            Davis, Harriett

                 2:14-cv-09580                          Wilbanks, Rhonda

                 2:14-cv-09581                      Childers, Anita and Jesse

                 2:14-cv-09584                     Coleman, Susan and Johnny

                 2:14-cv-09643                         Alexander, Demetria

                 2:14-cv-09646                            Mowen, Linda

                 2:14-cv-09989                             Black, Mary

                 2:14-cv-09994                     Cartwright, Linda and James

                 2:14-cv-10031                     Follett, Kathryn and Tex, Sr.

                 2:14-cv-10103                      Mondary, Linda and Paul

                 2:14-cv-11453                          Reviere, Virginia



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                 2:14-cv-11479                         Bardell, LaVonne

                 2:14-cv-13026                            Allen, Julia

                 2:14-cv-13629                           Bass, Wanda

                 2:14-cv-15107                     Fisher, Paula and John, Sr.




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